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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF'MARYLAND
                                       Norlhent Division

LOU MONTGOMERY and
MELISSA MONTGOMERY TVW

               Plaintiffs,

                             v'                     Civil Action No.: l:14 CV 01520-RDB
                                            tr

CSX TRANSPORTATION, INC. c/o
Corporation Creation Network, Inc., et al.*

               Defendants




              DEFENDANT JAMCO PRODUCTS, INC.'S MEMORANDUM
                  OF POINTS AND AUTHORITIES IN SUPPORT OF
              MOTION TO DISMISS FOR FAILURT, TO STATE A CLAIM


       COMES NOW Defendant Jamco Products, Inc. ("Jamco"), by and through its attorneys J.

Gregory Donlin and Semmes, Bowen      &   Semmes pursuant to F.R.C.P. 12 (bX6), and moves to

dismiss the Complaint for Failure to State a Claim upon whioh reliefcan be granted.

                                      INTRODUCTION

       Plaintiffs LouMontgomery and Melissa Montgomery filedthis Complaint against Defendant

CSX Transpofation, Inc. and Jamco Products, Inc. The Plaintiffs contend that Lou Montgomery

suffered personal injuries on October 5, 2013 while employed by CSX Transportation, Inc. at its

Cumberland yard. Count I ofthe Complaint named CSX Transportation and is a Count under the

Federal Employers Liability Act.
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          Counts II and III name Jamco Products, Inc. as a Defendant. Lou Montgomery is Plaintiff

under Count II for personal injuries. Count III is a loss of consortium claim by Lou and Melissa

Montgomery which incorporate the allegations ofCount II as to the incident ofOctobe¡ 5, 2013.

          This Motion is directed to the PlaintifflS failure to sufficiently plead specific facts to state

a cause   of action in Counts II and III.

          Plaintiff Lou Montgomery claims that he was injured while using a cart allegedly

manufactured by Jamco Products,         Inc.   Count   II   seems   to allege various theories of recovery:

negligence, products liability and breach ofvarious warranties.

          Plaintiffs' boilerplate Complaint fails to meet sacrosanct requirement that parties plead more

than conclusory allegations to survive a motion to dismiss. The United States Supreme Court has

emphasized that "[t]hreadbare recitals of the elements of a cause of action, supported by mere

conclusory statements, do not suffice" to "unlock the doors of discovery for a plaintiff amed with

nothing more rhan conclusions." Ash*oft        v lqbal,     129 S. Ct. 1937 ,1949- 1950 (2009).

          Here, Plaintiffs' claims are conclusory, omit essential elements, and lack sufficient factual

matterto state a claim upon which reliefcan be granted. Plaintiffs vague and ambiguous allegations

lack the required level of specihcity necessary to sustain any claim against Jamco, let alone permit

Jamco to frame a proper answer, and therefore must be dismissed.

          As to negligence, the Complaint fails to allege necessary specific facts, i.e. that Jamco owed

a duty of care to the Plaintiffs, breached the duff, and that such breach proximately caused the

Plaintiffs' damages. Plaintiffs fail to specifically plead or set forth allegations whichwould establish

the necessary elements of a negligence claim.




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        Plaintiffs also fails to set forth any specific facts to establish a cause of action based on

products liability. Plaintifffails to allege specific facts as to the claimed defect, the condition ofthe

product when it left premises of Jamco, how it was unreasonably dangerous and jts condition when

received by CSX.

        Plaintiffs' broad allegations without support ofspecific facts also fails to support a cause of

action for breach ofany warranties. Plaintiffs plead no specific facts regarding when the cart         \À'as


manufactured, if alleged warranties were written or implied, what written or oral warranties were

made, nor what   if   any written wamings should have been placed on the cart.

        Count II also alleges "negligence per se" which is not a cause of action under Maryland law.

        Accordingly, the Court should dismiss the Complaint against Jamco Products, Inc. with

prejudice.

                                        LEGAL STANDARJ)

        MOTION TO DISMISS

        The U.S. Supreme Court has explained that, in ruling on a motion to dismiss, a courl should

not accept unwarranted inferences or sweeping legal conclusions cast in the form of factual

allegations, and that aplaintiffhas the obligation to provide the "grounds ofhis entitlementto relief,"

which requires "more than labels and conclusions." Bell Atlantic Corp. v. Twombly,I2T S. Cf. 1955,

1965 (2007) (intemal quotations omitted). A     plaintiff must allege enough facts to "raise   a   right to

reliefabove the speculative level" Id. at 1965. Unsupported legal conclusions couched as facts are

not entitled to any assumption of trtth. Ashcroft, 129 S. Ct. at 1950.




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           Under F.R.C.P. 8 (a)(2), a complaint must stats those facts "showing that the pleader is

entitled to relief. . ." The court may dismiss a complaìnt if it fails to state a viable claim upon which

relief may be granted. F.R.C.P.12(b)(6).

                                               ARGUMENT

I,         THE COMPLAINT FAILS TO STATE A CLAIM FOR NEGLIGENCE.

           Maryl and Courts have often said that "[i]t is axiomatic that the mere happening of an accident

standing alone does not give rise to it presumption ofnegligence." rJnsatisfied Claim & Judgntent

Fund Boqrdv. Bowles,25 Md. App. 558, 563 (1975) (citations omitted).

           To support a claim for negligence plaintiff must allege sufficient facts to establish: 1) That

the defendant was under a duty to protect the plaintifffrom injury; 2) That the Defendant breached

the duty; 3) The plaintiff suffered damages; and 4) That the plaintiff s damages were proximately

caused by defendant's breach      ofdu\r. Valentine v. OnTarget,353 Md. 544,549,727 A,2d947,949

(l eee).

           Plaintiffs fail to set out specific facts that establish whether Jamco owed Plaintifß   a   duty and

ifso, the nature ofthat duty. Plaintiffs also failed to plead specific facts as to how Jamco allegedly

breached that duty.

           Paragraph 39 ofthe Complaint alleges that a carl failed "as   a   result ofimproper welds and/or

metal fatigue." In Paragraph 13 ofthe Complaint though Plaintiffs allege that CSXT, purchaser                of

the cart, determined the specifications ofthe cart including the materials f¡om which the cart was

constructed and determined the method of construction. Paragraph 15 alleges that CSXT made an

improper choice in the ordering of this cart. These paragraphs imply that the cart in fact met the




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specifications called for on the order by the purchaser CSXT but that CSXT made an improper

choice ofproduct.

        Plaintiffls allegations in paragraph 39 ofthe possibility ofmetal fatigue certainly     is consistent


with the theories expressed in paragraphs 13 through 18 ofan improper choice ofproduct, and not

that there were any breaches ofstandards ofcare by Jamco.         Plaintifls Complaint    also fails to allege

specific facts as to how metal fatigue or failed welds caused his injuries, He states that he was

holding a tool box and as he was about to place it on the cart, the cart broke. In paragraph 39

Plaintiff states that he had not had   a chance   to let go of the tool box. Plaintiff therefore fails to set

forth specific facts as to how the fracture of welds o¡ metal fatigue could have proximity caused

personal injuries.

       Plaintiffs "shotgun" approach in making scattered and unsupported allegations                   reveal

Plaintifls true intent, which   is to open the doors to discovery with factually unsuppofted claims, a

untenable situation condemned by the U,S. Supreme Court. AshÛoft v. Iqbal, 129 S. CT. 1937,

1949-1950 (2009).

       Jamco is entitled to know the alleged failures of which            it   stands accused. Without any

properly supported allegations regarding the alleged duty, failures of Jamco or when such acts

occutred, the Complaint fails to state a claim for negligence upon which reliefcan be granted and

must be dismissed.



IL     THE COMPLAINT FAILS TO STATE A CLAIM FOR ''BREACH OF EXPRESS
       AND/OR IMPLIED WARRANTY,''

       In Paragraphs 34 and 35 of the Complaint, Plaintiffs puryort to make claims for breach of

warranties of merchantability , fltness, safety "and other appropriate wananties." Plaintiffs' styling


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of the count fails to make clear what claims are being made. No specific facts are alleged to support

any warranty claims.

        A.     Any implied warranty claim fails         as a   matter of law.

        It is not clear which implied warranty Plaintiffs refer to in their Complaint. The Complaint

fails to set folth specific facts in support ofany claim for a breach of implied warranty.

        An implied wananty of fitness for   a   particular purpose requires three elements: 1)the selìer

must have known the buyer's parlicular puryose; 2) the seller must have reason to know the buyer

is relying upon the seller's skill or judgment to fumish appropriate goods; 3) the buyer must rely

upon the seller's skill or judgment . Ford Motor Co , 365 Md. at 342. Ã "particular purpose" differs

from the ordinary purpose for which the goods are used in that it envisages a specific use by the

buyer which is peculiar to the nature ofhis business. Id, at343.

       A claim for breach of implied wananty of merchantability requires that: "[P]laintiff must

prove the existence ofa defect at the time the product leaves the manufacturer. . ." Ford Motor

Company v. General Accident Insurance Company,365 Md 321 at 334,779                   A 2d 362 af 369.

Plaintifls Complaint fails to set forth specific facts   as    to a defect and as to whether the claimed

defect was of design or manufacture, a necessary element of a claim for breach of an implied

warranty of merchantabilify. Ford Motor Company 365 Md at 334,779 A2d362 a1369.

       Further, Plaintiffs must be required to plead the dates at issue to permit Jamco to determine

whether to assert limitations as a defense. Plaintiffs should be required to plead more than the bare

and conclusory allegations in paragraphs 34 and 35.




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          B.      Plaintiffs' Complaint fails to allege any facts that could establish
                  a breach of expressed warranty

          In order to plead a cause ofaction for breach ofexpress warranty, Plaintifls must set forth

the tetms and conditions of the wananty and the alleged breach.                  "Without these, no conclusion can

be drawn that such a cause       ofaction exists." Thomas v. Ford Motor Company,4S Md. App 6lT af

624, 429 A 2d 277 at 282-283.

III.      The Complaint fails to state a claim for products liability

          Plaintiffs fails to plead specific facts showing: 1) That the product was in a defective

condition at the time it left the possession or control of the seller; 2) ThaL if was unreasonably

dangerous to the user or consumer; 3) That the defect was the cause of injuries; and 4) That the

product was expected to and did reach the consumer without substantial change in condition, all

required in MaryIand. Owings-Illinois, Inc. v. Zenobia,325}l4d,420,432,601 A2ð,633,639; Phipps

v. Gener al Motor s     C orp., 27 8   Md 337,   33   4, 3 63 A 2d   95   5, 9 58 (197 6).

         Paragraph 52 of Plaintiffs' Complaint goes on to allege that the product was defective

because    it lacked   necessary wamings and instructions. Plaintifls              fail to allege specific facts   as   to

what the danger was that required a waming and the nature of any wamings that should have been

made by Jamco.

                                                 CONCLUSION

         A "court must retain     the power to insist upon some specificity in pleading before allowing

a   potentially massive factual controversy to proceed." Bell Atlantic Corp.,I27 S. Ct. at 1967.

Plaintiffs' complaint is too vague and ambiguous with respect to every claim and Jamco should

not be required to waste time and money framing an answer to the Complaint in its current form.




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since Plaintiffs have filed this lawsuit, the burden should properly rest on plaintiffs to fully

apprise Jamco   ofthe facts and claims at issue in this case. Plaintiffs' Complaint should therefore

be dismissed as to Jamco.




                                               Respectfully submitted,

                                                  /s/.1        Donlin
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